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                                    UNITED STATES BANKRUPTCY COURT
                                         DISTRICT OF NEW JERSEY


 In re:                                                        Chapter 11

 BLOCKFI INC., et al.,                                         Case No. 22-19361 (MBK)

                                     Debtors.1                 (Jointly Administered)



                  CERTIFICATE OF NO OBJECTION REGARDING
          NINTH MONTHLY FEE STATEMENT OF HAYNES AND BOONES, LLP

          The court authorized, under D.N.J. LBR 2016-3(a), compensation to professionals

 monthly. Under D.N.J. LBR 2016-3(c), objections to the Monthly Fee Statement filed on

 October 3, 2023 were to be filed and served not later than October 17, 2023. I, Richard

 Kanowitz, certify that, as of October 18, 2023, I have reviewed the Court’s docket in this case

 and no answer, objection, or other responsive pleading to the above Monthly Fee Statement has
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      The Debtors in these Chapter 11 Cases, along with the last four digits of each Debtor’s federal tax identification
      number, are: BlockFi Inc. (0015); BlockFi Trading LLC (2487); BlockFi Lending LLC (5017); BlockFi Wallet
      LLC (3231); BlockFi Ventures LLC (9937); BlockFi International Ltd. (N/A); BlockFi Investment Products
      LLC (2422); BlockFi Services, Inc. (5965); and BlockFi Lending II LLC (0154). The location of the Debtors’
      service address is 100 Horizon Center Blvd., 1st and 2nd Floors, Hamilton, NJ 08691.



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 been filed. Pursuant to D.N.J. LBR 2016-3, payment shall be made to the applicant upon the

 filing of this Certification.


 Dated: October 18, 2023                         /s/ Richard Kanowitz
                                                 Richard Kanowitz




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